                   Case 2:22-cv-00323-RGK-JEM Document 19 Filed 04/22/22 Page 1 of 3 Page ID #:130




                      1 LEWIS BRISBOIS BISGAARD & SMITH LLP
                        JOHN L. BARBER, SB# 160317
                      2   E-Mail: John.Barber@lewisbrisbois.com
                        MADONNA L. DEVLING, SB# 163419
                      3   E-Mail: Madonna.Devling@lewisbrisbois.com
                        650 Town Center Drive, Suite 1400
                      4 Costa Mesa, California 92626
                        Telephone: 714.545.9200
                      5 Facsimile: 714.850.1030
                      6 LEWIS BRISBOIS BISGAARD & SMITH LLP
                        RACHEL J. LEE, SB# 225263
                      7   E-Mail: Rachel.Lee@lewisbrisbois.com
                        633 West 5th Street, Suite 4000
                      8 Los Angeles, California 90071
                        Telephone: 213.250.1800
                      9 Facsimile: 213.250.7900
                     10 Attorneys for Defendants, UNIFYED,
                        LLC and CAMPUSEAI, INC.
                     11
                     12                              UNITED STATES DISTRICT COURT
                     13                CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
                     14
                     15 MELISSA ROBERTSON, an                           Case No. 2:22-cv-00323-RGK-JEM
                        individual,
                     16                                                 JOINT REPORT REGARDING
                                     Plaintiff,                         ADR
                     17
                                vs.                                     District Judge: R. Gary Klausner
                     18                                                 Courtroom 850
                        UNIFYED, LLC, an Illinois limited
                     19 liability company; CAMPUSEAI, INC.,
                        an Ohio Corporation; and DOES 1-10              Trial Date:       None Set
                     20 inclusive,
                     21                      Defendants.
                     22
                     23            Plaintiff MELISSA ROBERTSON and Defendants UNIFYED, LLC and
                     24 CAMPUSEAI, INC. hereby jointly report that as a result of a mediation held on
                     25 April 19, 2022 with the Hon. Michael Marcus (ret.) of ADR Services, the parties
                     26 have reached a settlement of the entire case. The parties will file a Stipulation to
                     27 Dismiss Complaint With Prejudice within the next 45 days.

LEWIS                28 / / /
BRISBOIS
BISGAARD                  4895-9811-3821.1
& SMITH LLP
ATTORNEYS AT LAW                                           JOINT REPORT REGARDING ADR
                   Case 2:22-cv-00323-RGK-JEM Document 19 Filed 04/22/22 Page 2 of 3 Page ID #:131




                      1 DATED: April 22, 2022                     LYON LEGAL, P.C.
                      2
                      3
                                                                  By:         /s/Matthew B. Perez
                      4
                                                                        DEVON M. LYON
                      5                                                 MATTHEW B. PEREZ
                      6                                                 Attorneys for Plaintiff, MELISSA
                                                                        ROBERTSON
                      7
                      8 DATED: April 22, 2022                     JOHN L. BARBER
                      9                                           MADONNA L. DEVLING
                                                                  RACHEL J. LEE
                     10                                           LEWIS BRISBOIS BISGAARD & SMITH LLP
                     11
                     12
                     13                                           By:         Madonna L. Devling
                                                                        MADONNA L. DEVLING
                     14                                                 Attorneys for Defendants, UNIFYED, LLC
                     15                                                 and CAMPUSEAI, INC.
                     16
                     17
                                             CERTIFICATE OF APPROVAL BY ALL SIGNATORIES
                     18
                                   Pursuant to Local Rule 5-4.3.4(a)(2)(i), I hereby attest that all other signatories
                     19
                          listed, and on whose behalf this filing is submitted, concur in the filing’s content and
                     20
                          have authorized the filing.
                     21
                     22
                     23
                     24
                     25
                     26
                     27

LEWIS                28
BRISBOIS
BISGAARD
& SMITH LLP
                          4895-9811-3821.1                              2
ATTORNEYS AT LAW                                          JOINT REPORT REGARDING ADR
                   Case 2:22-cv-00323-RGK-JEM Document 19 Filed 04/22/22 Page 3 of 3 Page ID #:132




                      1                        FEDERAL COURT PROOF OF SERVICE
                                                Melissa Robertson v. Unifyed, LLC, et al.
                      2                                 Case No. 21STCV37867
                      3 STATE OF CALIFORNIA, COUNTY OF ORANGE
                      4        At the time of service, I was over 18 years of age and not a party to the action.
                        My business address is 650 Town Center Drive, Suite 1400, Costa Mesa, CA 92626.
                      5 I am employed in the office of a member of the bar of this Court at whose direction
                        the service was made.
                      6
                               On April 22, 2022, I served the following document(s): JOINT REPORT
                      7 REGARDING ADR
                      8         I served the documents on the following persons at the following addresses
                          (including fax numbers and e-mail addresses, if applicable):
                      9
                        Devon M. Lyon, Esq.                           Attorneys for Plaintiff, MELISSA
                     10 Matthew B. Perez, Esq.                        ROBERTSON
                        Lyon Legal, P.C.
                     11 2698 Junipero Ave., Suite 201A                T: (562) 216-7382
                        Signal Hill, CA 90755                         F: (562) 216-7385
                     12
                                                                      Email: d.lyon@lyon-legal.com
                     13                                                      m.perez@lyon-legal.com
                     14            The documents were served by the following means:
                     15           (BY COURT’S CM/ECF SYSTEM) Pursuant to Local Rule, I electronically
                                   filed the documents with the Clerk of the Court using the CM/ECF system,
                     16            which sent notification of that filing to the persons listed above.
                     17        I declare under penalty of perjury under the laws of the United States of
                          America and the State of California that the foregoing is true and correct.
                     18
                                   Executed on April 22, 2022, at Costa Mesa, California.
                     19
                     20
                     21                                               Danielle Morgan
                     22
                     23
                     24
                     25
                     26
                     27

LEWIS                28
BRISBOIS
BISGAARD
& SMITH LLP
                          4895-9811-3821.1                           1
ATTORNEYS AT LAW                                        JOINT REPORT REGARDING ADR
